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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE


UNITED STATES OF AMERICA           )
                                   )
v.                                 )
                                   )
SHAREEF NASH (01),                 )           NO. 2:10-CR-136-DBH
DANEEK MILLER (02)                 )
HASAN WORTHY (03),                 )
SASHA PHILLIPS (04),               )
NICOLE WEBSTER-GERSY (05),         )
REGINA GOINS (08),                 )
VERONICA BROWN (09),               )
JOHN PALAIA (14),                  )
                                   )
                  DEFENDANTS       )


          ORDER AFFIRMING MEMORANDUM DECISIONS AND
        RECOMMENDED DECISIONS OF THE MAGISTRATE JUDGE


      On April 15, 2011, the United States Magistrate Judge filed with the

court, with copies to counsel, a Memorandum Decision on Hearing Request

and Motions to Strike and Recommended Decision on Motions to Suppress

(“Mem. Decisions and Recommended Decision”) (Docket Item 348), and a

Recommended Decision on Motion to Suppress (Docket Item 350). (The docket

also contains Docket Item 356, Memorandum Decision on Hearing Request and

Motions to Strike and Recommended Decision on Motions to Suppress, but it

duplicates Docket Item 348). The defendant Worthy filed his objection to the

Recommended Decision and appeal of the Memorandum Decisions on May 2,

2011 (Docket Item 364), and the defendant Nash filed his objection to the

Recommended Decisions and appeal of the Memorandum Decisions on May 16,
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2011 (Docket Item 372), adopting therein all of defendant Worthy’s arguments

as well.

      I have reviewed and considered the Memorandum Decisions on Hearing

Request and Motions to Strike. I concur with the Magistrate Judge’s rulings

(denying the defendant’s motion to strike, and request for an evidentiary

hearing; and granting the government’s motion to strike) because they are

neither clearly erroneous nor contrary to law, and I determine that no further

proceeding is necessary. The rulings are therefore AFFIRMED.

      I have reviewed and considered the Recommended Decisions, together

with the entire record; I have made a de novo determination of all matters

adjudicated     by   the   Recommended   Decisions;   and   I   concur   with   the

recommendations of the United States Magistrate Judge for the reasons set

forth in the Recommended Decisions, and determine that no further proceeding

is necessary.

      I make the following observations. The defendant Worthy objects to the

Magistrate Judge’s reference to a “typographical error,” see Mem. Decisions

and Recommended Decision at 14 (Docket Item 348), in the wiretap affidavits

(whether the government had sufficient information to identify defendant

Nash), claiming that the government stated that the error was “inadvertent”

and never asserted that it was “typographical.”       Def. Worthy’s Appeal from

Mem. Decisions and Objection to Recommended Decision at 24 (Docket Item

364). The government did say that the error was an “obvious misstatement,”

Reply to Def. Worthy’s Supplemental Mem. at 5 (Docket Item 334), and clearly

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it was, since elsewhere in the affidavit the agent discussed that very

identification. Whether it is described as “typographical,” “inadvertent,” or an

“obvious misstatement” makes no difference.

      The defendant Worthy also objects to the Magistrate Judge’s decision

striking certain supplemental filings as untimely. Although the filings clearly

occurred outside the court-established deadlines in the case, the defendant

Worthy   seems   to   take   the   position   that   all   court-ordered   deadlines

automatically disappear upon the filing of a superseding indictment. Although

the opinion cited by the Magistrate Judge, United States v. Bazuaye, No. 03-12,

2004 WL 784835, at *5 (S.D.N.Y. Apr. 12, 2004), aff’d, 311 Fed. Appx. 382 (2d.

Cir. 2008), does not deal with deadlines as such, there is no authority for the

defendant Worthy’s position, and it has long been the custom for defense

counsel in this district to request extension of deadlines if a superseding

indictment (or some other event) requires more time. In this very case, after

the second superseding indictment was filed on October 6, 2010, the defendant

Worthy requested an extension of time for pretrial motions on October 12 (the

request was granted October 18). He made another such request October 26 (it

was granted October 27). He made still another such request November 10 (it

was granted November 15).      Apparently he did not then think that all such

deadlines had disappeared upon the filing of the second superseding

indictment. It is only the third superseding indictment filed November 17 to

which he attributes that effect.    I agree with the Magistrate Judge that the

previously established deadlines remained in effect until the court altered

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them. That conclusion is consistent with the approach of the Speedy Trial Act.

In that context, the Supreme Court has stated clearly that the filing of a

superseding indictment does not start a new 30-day trial preparation period.

United States v. Rojas-Contreras, 474 U.S. 231, 234 (1985).

      It is therefore ORDERED that the Recommended Decisions of the

Magistrate Judge are hereby ADOPTED. The defendants Worthy’s and Nash’s

motions to suppress wiretap evidence are DENIED.       The defendant Nash’s

motion to suppress is DENIED.

      SO ORDERED.

      DATED THIS 10TH DAY OF JUNE, 2011



                                          /S/D. BROCK HORNBY
                                          D. BROCK HORNBY
                                          UNITED STATES DISTRICT JUDGE




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